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                        UNITED STATES DISTRICT COURT
 1
                                   FOR THE
 2                      WESTERN DISTRICT OF TENNESSEE
 3                                            )
     CAROLYN BLEDSOE,
                                              )
 4                                            )
                 Plaintiff,                   )
 5                                            )   Case No.:
              v.                              )
 6                                            )   COMPLAINT AND DEMAND FOR
     AMERICAN                                 )   JURY TRIAL
 7   INTERCONTINENTAL                         )
     UNIVERSITY, INC.,                        )   (Unlawful Debt Collection Practices)
 8                                            )
                                              )
 9                                            )
                 Defendant.
                                              )
10

11
                                       COMPLAINT
12

13
           CAROLYN BLEDSOE (“Plaintiff”), by and through her attorneys,

14   KIMMEL & SILVERMAN, P.C., alleges the following against AMERICAN
15
     INTERCONTINENTAL UNIVERSITY, INC. (“Defendant”):
16

17                                    INTRODUCTION

18
           1.    Plaintiff’s Complaint is based on the Telephone Consumer Protection
19

20   Act, 47 U.S.C. § 227, et seq. (“TCPA”).

21                             JURISDICTION AND VENUE
22
           2.    Jurisdiction of this Court arises under 28 U.S.C. § 1331, which grants
23
     this court original jurisdiction of all civil actions arising under the laws of the
24

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     United States. See Mims v. Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181
 1

 2   L. Ed. 2d 881 (2012).
 3
           3.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
 4
                                      PARTIES
 5

 6
           4.     Plaintiff is a natural person, who resides in Memphis, Tennessee

 7   38141.
 8
           5.     Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).
 9
           6.     Defendant is a corporation with its headquarters located at 231 N
10

11   Martingale Road, Schaumburg, Illinois 60173.

12         7.     Defendant is a “person” as that term is defined by 47 U.S.C. §
13
     153(39).
14
           8.     Defendant acted through its agents, employees, officers, members,
15

16   directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
17   representatives, and insurers.
18
                                  FACTUAL ALLEGATIONS
19
           9.     Plaintiff has a cellular telephone number.
20

21         10.    Plaintiff has only used this phone as a cellular telephone.
22
           11.    Beginning in or around July 2016, Defendant called Plaintiff on her
23
     cellular telephone on a repetitive and continuous basis.
24

25
           12.    During the relevant period, Defendant called Plaintiff on her cellular


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     telephone multiple times per day.
 1

 2            13.   When contacting Plaintiff on her cellular telephone, Defendant used
 3
     an automatic telephone dialing system and automated and/or pre-recorded
 4
     messages.
 5

 6
              14.   Plaintiff often would answer a call to be greeted with an automated

 7   recording before speaking to callers or receive voice messages from an automated
 8
     voice.
 9
              15.   Defendant’s telephone calls were not made for “emergency
10

11   purposes” since Defendant has been calling Plaintiff regarding their educational

12   programs.
13
              16.   Desiring to stop these repeated calls, Plaintiff spoke with Defendant
14
     in late July 2016 and requested that the calls stop immediately.
15

16            17.   Defendant heard and acknowledged Plaintiff’s request to stop
17   calling.
18
              18.   Once Defendant was told the calls were unwanted and to stop, there
19
     was no lawful purpose to making further calls, nor was there any good faith
20

21   reason to place calls.
22
              19.   Despite Plaintiff’s clear revocation of consent to call her cellular
23
     phone, Defendant persisted in calling Plaintiff multiple times daily through
24

25
     August 2016 despite multiple requests to cease calling her cellular telephone.


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           20.    After Plaintiff’s repeated requests to stop the calls were ignored by
 1

 2   Defendant, she had no other option but to install a blocking application to block
 3
     calls from Defendant’s phone numbers.
 4
           21.    Upon information and belief, Defendant conducts business in a
 5

 6
     manner which violates the Telephone Consumer Protection Act.

 7

 8
                         DEFENDANT VIOLATED THE
 9                 TELEPHONE CONSUMER PROTECTION ACT
10
           22.    Plaintiff incorporates the forgoing paragraphs as though the same
11
     were set forth at length herein.
12

13
           23.    Defendant initiated multiple automated telephone calls to Plaintiff’s

14   cellular telephone using a prerecorded voice.
15
           24.    Defendant initiated these automated calls to Plaintiff using an
16
     automatic telephone dialing system.
17

18         25.    Defendant’s calls to Plaintiff were not made for emergency purposes.

19         26.    Defendant’s calls to Plaintiff were not made with Plaintiff’s prior
20
     express consent as she revoked in late July 2016.
21
           27.    Defendant’s acts as described above were done with malicious,
22

23   intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights

24   under the law and with the purpose of harassing Plaintiff.
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            28.    The acts and/or omissions of Defendant were done unfairly,
 1

 2   unlawfully, intentionally, deceptively and fraudulently and absent bona fide error,
 3
     lawful right, legal defense, legal justification or legal excuse.
 4
            29.    As a result of the above violations of the TCPA, Plaintiff has suffered
 5

 6
     the losses and damages as set forth above entitling Plaintiff to an award of

 7   statutory, actual and treble damages.
 8

 9
            WHEREFORE, Plaintiff, CAROLYN BLEDSOE, respectfully prays for a
10

11   judgment as follows:

12                 a.      All     actual   damages     suffered   pursuant   to   47   U.S.C.
13
                           §227(b)(3)(A);
14
                   b.      Statutory damages of $500.00 per violative telephone call
15

16                         pursuant to 47 U.S.C. §227(b)(3)(B);
17                 c.      Treble damages of $1,500 per violative telephone call pursuant
18
                           to 47 U.S.C. §227(b)(3);
19
                   d.      Injunctive relief pursuant to 47 U.S.C. §227(b)(3); and
20

21                 e.      Any other relief deemed appropriate by this Honorable Court.
22
                                   DEMAND FOR JURY TRIAL
23
            PLEASE TAKE NOTICE that Plaintiff, CAROLYN BLEDSOE, demands
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25
     a jury trial in this case.


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 2                                    Respectfully submitted;
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 4   DATED: August 26, 2016           /s/ Amy L. Bennecoff Ginsburg
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